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UNITED STATES, DISTRICT COURT SINAL
CENTRAL DISTRICT OF CALIFORNIA

 

UNITED STATES OF AMERICA, 1S PHf&se2No. CR _05-1046(c)-RMT iy
2006 rE
Plaintiff, AGT cotiorice TO COURT =
re eee OF GC
Vv. ua Ww
RELATED CRIMINAL CASE
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(PURSUANT TO
GENERAL ORDER 224)

ANTHONY PELLICANO ét al.,

Defendant (s).

 

 

 

Plaintiff United States of America hereby informs the Court that the

above-entitled criminal case may be related to United States v.
Daniel Nicherie , CR 04--354-DSF

x was previously assigned to the Honorable Dale S. Fischer

 

has not been previously assigned.
The above-entitled cases may be related for the following reasons:

X the cases arise cut of the same common scheme,

 

transaction, series of transactions or events;

See attached,

 

 

X the cases involve one or more defendants in common and
would entail substantial duplication of labor in

pretrial, trial, or sentencing proceedings if heard by

different judges. See attached,

 

 

 

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DANIEL A, SAUNDERS
Assistant United States Attorney

FEB 28 2006

DATED: _February 15, 2006 Ne SSS (EVER OM |
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The initial, first superseding, and second superseding
indictments in this case (No. CR 05-1046-RMT) were unsealed on
February 6, 2006. The government filed, with the second L
superseding indictment, a Notice of Related Criminal Case
identifying possible relationships between this case and three
previously filed cases, each of which involves events or
transactions that form the basis for one or more charges in the
second superseding indictment.’

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At post-indictment arraignment on February 6, 2006, this
case was assigned to the Honorable S. James Otero. On February
8, 2006, this case was transferred to the Honorable Robert M.
Takasugi pursuant to the Notice of Related Criminal Case. No
other proceedings have been held to date before either Judge
Otero or Judge Takasugi.

On February 14, 2006, at the post-indictment arraignment of

defendant Daniel Nicherie, counsel for Daniel Nicherie ina

pending case before the Honorable Dale S. Fischer (No. CR 04-354-
DSF) informed the government that he believes the two cases
against his client are related. Specifically, in this case,
Daniel Nicherie and four other defendants are charged in count 97
of the third superseding indictment (returned on February 15,
2006) with the wiretapping of Ami Shafrir. The alleged
wiretapping of Ami Shafrir is also charged as an overt act in
furtherance of the wiretapping conspiracy in count 95 of the
third superseding indictment. In No. CR 04-354-DSF, Ami Shafrir
and his wife, Sarit, are the victims of defendant Daniel
Nicherie's alleged fraud in the pending 42-count indictment.
Counsel for defendant Daniel Nicherie stated to the government
his belief that the. charges against Daniel Nicherie in both cases
arise out of a common scheme and series of transactions or
events.

Prior to this conversation with defense counsel, the
government had not focused on the relationship between the two
Daniel Nicherie cases; which are being prosecuted by different
sections of the United States Attorney's Office. Upon
consideration of defense counsel's position, however, the claim
of relationship appears to have merit. The government believes
the evidence will establish that defendant Daniel Nicherie
engaged in the wiretapping of Ami Shafrir (as charged in No. CR
05-1046 (C)-RMT) in furtherance of his scheme to defraud Ami and
Sarit Shafrir (as charged in No. CR 04-354-DSF). Accordingly,
concurrently with today's filing of the third superseding
indictment in No. CR 05-1046(C)-RMT (which adds one defendant and
two counts to the previously filed charges), the government
notifies the court of this relationship pursuant to General Order
224 so that the court may take any action it deems appropriate.

 

* The three cases identified in the government's

previously filed Notice of Related Criminal Case are:
United States v. Sandra Will Carradine, CR 05-1030-RMT;

United States v. Teresa Wright, CR 02-1245-PA; and United
States v. Craiq Stevens, CR 06-06-RGK.

 

 

 
